4:24-cv-03177-SMB-MDN Doc# 64-11
Short Message Report

Conversations: 1
Total Messages: 8

Outline of Conversations

CJ +17855437246 » 8 messages on 10/2/2024

Filed: 01/31/25 Page 1of2-PageID#1152

_ Participants: 2
Date Range: 10/2/2024

<4026415432> + Jeff Keeler <7855437246>

Daws0002099

4:24-cv-03177-SMB-MDN Doc#64-11_ Filed: 01/31/25 Page 2of2-PageID#1153
Messages in chronological order (times are shown in GMT +00:00)

CJ +17855437246

JK Jeff Keeler <7855437246> & 10/2/2024, 1:20 PM
The key to Conrads truck are in the strap box

Receipts + <4¢ 15432> [R:10/2/2024, 1:21 PM}

> <4026415432> @ 10/2/2024, 1:21 PM
Did he quit
Receipts « Jeff Keeler <7855437246> [D:10/2/2024, 1:21 PM

>> JK Jeff Keeler <7855437246> & 10/2/2024, 1:21 PM

No he’s on his way to phoenix

Receipts * <4026415432> [R:10/2/2024, 1:21 PM

>>>t <4026415432> @ 10/2/2024, 6:10 PM
Spenser may call

Receipts = Jef 7246> [D:10/2/2024, 6:10 PM)
>>>> Jeff Keeler <7855437246> & 10/2/2024, 6:10 PM
JK ay

Receipts « <4026415432> [R:10/2/2024, 6:11 PM}
>>>>> Jeff Keeler <7855437246> & 10/2/2024, 7:43 PM
JK Scott Jundt is asking about some loads to Florida. How do | need to handle that?

Receipts * <4026415432> [R:10/2/2024, 7:56 PM]
>>>>> <4026415432> @ 10/2/2024, 7:56 PM
>i Needs to call Chuck

Receipts « Jeff Keeler <7855437246> [19:10/2/2024, 7:56 PM)
>>>>> Jeff Keeler <7855437246> & 10/2/2024, 7:56 PM

>> JK That's what | thought. Thanks

Receipts = <4026415432> [R: 10/2/2024, 8:19 PM}

Daws0002100

